                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

   IN RE:                                          )
                                                   )
  JAMES WILSON MCMEANS, JR.                        ) CASE NO. 18-82525-CRJ12
  SSN: XXX-XX-4589                                 ) CHAPTER 12
     Debtor.                                       )


                                       CHAPTER 12 PLAN

        COMES NOW James Wilson McMeans, Jr., debtor (“Debtor”) in the above-styled Chapter
 12 case, pursuant to 11 U.S.C. § 1223, and submits this Chapter 12 Plan.

         I.     Funding for Plan. James Wilson McMeans, Jr. submits all of his future disposable
 income to the extent necessary to consummate this Chapter 12 Plan (the “Plan”) by paying priority
 and secured claims pursuant to the terms set out herein. The Debtor specifically reserves all future
 income necessary for living and operating expenses and for direct, long-term payment of secured
 claims.

         II.     Unclassified Claims. Pursuant to 11 U.S.C. § 1222(a)(3), the claims in this case
 are classified for the purpose of similar treatment as follows:

                A.     Administrative claims. All administrative expenses claims consistent with
        of the Debtor’s Chapter 12 case allowed pursuant to § 503(b) of the Code are given priority
        in accordance with §507(a)(1) of the Bankruptcy Code. These claims are divided into the
        following:

                (a)     Any noticing fees and other charges due to the Clerk of Court;

                (b)   A fee and reimbursement of expense for the Chapter 12 Trustee of $66.31
                per month plus 5.5% of all unsecured distributions;

                (c)    Professional compensation and reimbursement of expenses for the Debtor’s
                attorney in amounts to be determined by the Court upon notice and a hearing; and

                (d)    Any other priority claims which are timely filed and subsequently allowed
                by the Court. (The Debtor does not expect any claims in this sub-class to be filed.)

                B.      Priority claims.

              United States Internal Service (“IRS”): The IRS asserts a priority claim for unpaid
        income tax in the approximate amount of $2,237.95.




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Case 18-82525-CRJ12        Doc 56     Filed 11/21/18 Entered 11/21/18 13:04:13             Desc Main
                                    Document      Page 1 of 23
              Alabama Department of Revenue (“ADOR”): ADOR asserts priority claims no. 5
       and 6 for unpaid state income tax in the approximate amount of $3,117.01.

       III.   Classified Claims.

              Class 1:   First Southern Financial.

              Class 1(a) shall consist of the Allowed Secured Claim No. 11 of First Southern
              Financial in the amount of $12,705.76. The Debtor seeks to reduce the interest rate
              on this claim from 21% to 5.25%, per annum. Class 1(a) shall be amortized over
              sixty (60) months and shall accrue interest at 5.25%. Class 1(a) shall be based upon
              equal monthly installments commencing sixty (60) days after the Effective Date of
              the Plan. Such payments shall be $241.23 per month until paid. All calculations
              of payments are subject to adjustment. This payment will be paid by the Trustee.

              Class 1(b) shall consist of the Allowed Secured Claim No. 12 of First Southern
              Financial in the amount of $6,354.38 The Debtor seeks to reduce the interest rate
              on this claim from 21% to 5.25%, per annum. Class 1(a)(b) shall be amortized over
              sixty (60) months and shall accrue interest at 5.25%. Class 1(a)(b) shall be based
              upon equal monthly installments commencing sixty (60) days after the Effective
              Date of the Plan. Such payments shall be $120.64 per month until paid. All
              calculations of payments are subject to adjustment. This payment will be paid by
              the Trustee.

              Class 1(a)(c) shall consist of the Allowed Secured Claim No. 13 of First Southern
              Financial in the amount of $10,539.66 The Debtor seeks to reduce the interest rate
              on this claim from 21% to 5.25%, per annum. Class 1(a)(c) shall be amortized over
              sixty (60) months and shall accrue interest at 5.25%. Class 1(a)(c) shall be based
              upon equal monthly installments commencing sixty (60) days after the Effective
              Date of the Plan. Such payments shall be $200.11 per month until paid. All
              calculations of payments are subject to adjustment. This payment will be paid by
              the Trustee.

              Class 2: Carrington Mortgage. Class 2 shall consist of the allowed secured
              claim of Carrington Mortgage in the amount of $82,590.35. Class 2 shall be
              amortized over two hundred and forty (240) months and shall accrue interest at
              5.0%. Class 2 shall be based upon equal monthly installments commencing sixty
              (60) days after the Effective Date of the Plan. Such payments shall be $545.06 per
              month until paid. All calculations of payments are subject to adjustment. This
              payment will be paid by the Trustee.

              Class 3: Unsecured Claims. This class consists of any pre-petition unsecured
              claims concerning Debtor’s farming operation or living expenses which are timely
              filed and subsequently allowed by the Court. They include claims of every kind
              and nature including claims arising from the rejection of executory contracts,
              unexpired lease claims, deficiencies on secured claims, contract damage claims or

                                               2


Case 18-82525-CRJ12      Doc 56      Filed 11/21/18 Entered 11/21/18 13:04:13           Desc Main
                                   Document      Page 2 of 23
               open account claims and damages arising from or related to any liquidated or
               contingent claim. It also includes any debt which is filed as a secured claim but,
               which is allowed as an unsecured claim by the Bankruptcy. The Debtor anticipates
               that this sum will be approximately $167,790.43.

               Debtor proposes to initially pay sixty percent (60%) of “Net Plan Profit” of
               Debtor’s farming operations, which would be Gross Income of Debtor, less costs
               of farming operations, secured and priority Plan payments, and cost of living for
               the Debtor for five (5) years. The remaining 40% will be used to pay taxes and
               capital needs of the farm. These will be annual installments made by November
               30th of the following year. Attached as Exhibit A and Exhibit B are estimates by
               the Debtor of these costs. The Debtor’s household budget shall be fixed for the five
               (5) year term of the Plan. See Ex. B. It is anticipated that the annual payment to
               Allowed Unsecured Claims will be as follows:
               Year 1: $15,120.00; Year 2: $15,120.00; Year 3: $15,120.00; Year 4: $15,120.00;
               Year 5: $15,120.00
               Annual payment will be distributed pro rata to Allowed Unsecured Claims. The
               Debtor contend this represents the entire disposable incomes of the Debtor.
         IV.    Treatment of claims. The various classes of claims described above shall receive
 the following treatment under the confirmed Plan, to wit:

                A.       Administrative claims. Pursuant to 11 U.S.C. § 1222(a), Debtor shall tender
        cash payments in full of all claims entitled to priority under 11 U.S.C. § 507(a)(1) upon
        entry of a final Order confirming the Plan. The amount of such claims shall be established
        as follows:

               (a)     The Debtor shall pay noticing fees in an amount according to a bill or
               certificate of charges due from the Clerk of the Court. This amount is estimated to
               be less than $100.00 dollars.

               (b)    The Debtor shall pay the Trustee her compensation and reimbursement of
               her expenses.

               (c)     The Debtor shall pay his attorney an amount approved by the Court for
               compensation and reimbursement of expenses after a notice and hearing upon
               proper application by said attorney. The amount of professional compensation due
               at confirmation is estimated to be approximately $12,000.00.

                B.       Priority claims. Debtor shall tender cash payments in full of all claims
        entitled to priority under 11 U.S.C. § 507(a)(2) through (a)(8) of the Bankruptcy Code over
        sixty (60) months from the date of confirmation and shall accrue interest at the rate of 4%.
        The Debtor’s combined total of priority claims is $5,354.96. The estimated payment will
        be $98.62 per month. This payment will be made through the Trustee.


                                                 3


Case 18-82525-CRJ12        Doc 56     Filed 11/21/18 Entered 11/21/18 13:04:13            Desc Main
                                    Document      Page 3 of 23
            C.      Secured claims.

            Class 1(a) – First Southern Financial. As of August 24, 2018, Debtor owes First
            Southern Financial the approximate sum of $12,705.76 which is secured by the
            following: One (1) 2001 Dodge RAM PU VIN 3B6MC36721M524817; and One
            (1) 1997 Kenworth Tractor Trailer. The Debtor will pay First Southern Financial
            its allowed claim over the course of sixty (60) months and shall accrue interest at
            the rate of 5.25%. Payments shall commence on the first day of the first month
            following confirmation of the Plan and shall continue thereafter until the debt owed
            to First Southern Financial is paid in full. First Southern Financial shall retain its
            lien upon its collateral until its debt is paid in full at which time the Debtor may file
            the appropriate termination statements. The estimated payment shall be $241.23
            per month. This payment will be made by the Trustee.

            Class 1(b) – First Southern Financial. As of August 24, 2018, Debtor owes First
            Southern Financial the approximate sum of $6,354.38 which is secured by the
            following: One (1) 1966 Chevrolet 10 PU VIN 4C144N121010. The Debtor will
            pay First Southern Financial its allowed claim over the course of sixty (60) months
            and shall accrue interest at the rate of 5.25%. Payments shall commence on the
            first day of the first month following confirmation of the Plan and shall continue
            thereafter until the debt owed to First Southern Financial is paid in full. First
            Southern Financial shall retain its lien upon its collateral until its debt is paid in full
            at which time the Debtor may file the appropriate termination statements. The
            estimated payment shall be $120.64 per month. This payment will be made by the
            Trustee.

            Class 1(c) – First Southern Financial. As of August 24, 2018, Debtor owes First
            Southern Financial the approximate sum of $10,539.66 which is secured by the
            following: One (1) 2007 Chevrolet Tahoe automobile, VIN 1GNFC13J57J293417.
            The Debtor will pay First Southern Financial its allowed claim over the course of
            sixty (60) months and shall accrue interest at the rate of 5.25%. Payments shall
            commence on the first day of the first month following confirmation of the Plan
            and shall continue thereafter until the debt owed to First Southern Financial is paid
            in full. First Southern Financial shall retain its lien upon its collateral until its debt
            is paid in full at which time the Debtor may file the appropriate termination
            statements. The estimated payment shall be $200.11 per month. This payment will
            be made by the Trustee.

            Class 2: Carrington Mortgage. As of August 24, 2018, Debtor owes Carrington
            Mortgage the approximate sum of $82,590.35 which is secured by the following:
            real property located at Lot 1, Block 4, according to the survey of Oakwood
            Subdivision, as recorded in Map Book C, Page 47, in the Probate Office of
            Limestone County, Alabama. This debt is comprised of one (1) note and/or security
            agreement. The Debtor will pay Carrington Mortgage its Allowed Secured Claim
            over the course of two hundred and forty (240) months, which includes interest at
            the rate of 5.0%. Payments shall commence on the first day of the first month

                                                4


Case 18-82525-CRJ12     Doc 56     Filed 11/21/18 Entered 11/21/18 13:04:13                 Desc Main
                                 Document      Page 4 of 23
                following confirmation of the Plan and shall continue thereafter until the debt owed
                to Carrington Mortgage is paid in full. Carrington Mortgage shall retain its lien
                upon this collateral until Carrington Mortgage Allowed Secured Claim is paid in
                full at which time the Debtor may file the appropriate termination statements and
                mortgage releases. The estimated payment shall be $545.06 per month. This
                payment will be made by the Trustee.

        Total monthly Plan payment is estimated to be approximately $1,271.97.

                Class 3: Unsecured claims. Pursuant to 11 U.S.C. § 1222(b)(2), the Debtor
                elects to modify the rights of the holder of unsecured claims as follows:

                (a)    Unsecured claimants shall receive fixed payments prorated under the Plan.

                (b)    Payments shall be made in annual installments, commencing November 30,
                2019, and continuing each year thereafter, for a total of five (5) annual installments.
                This payment will be made through the Trustee.

                (c)    No interest accrued after the date of filing of the Petition shall be allowed
                on any unsecured claim, and interest unmatured as of that date shall be disallowed,
                as provided for in 11 U.S.C. § 502(b)(2).

                (d)     Pursuant to 11 U.S.C. § 1225(a)(4), the value of the property as of the
                effective date of the Plan to be distributed under the Plan on account of each
                unsecured claim is described above, equals or exceeds the amount that would be
                paid on such claim in a liquidation claim under Chapter 7.

        IV.    Summary of Debtor's Farming Operations. The Debtor operates a seasonal row
 cropping operation, and provides some agricultural transportation to other farmers in the area. The
 Debtor receives farm income for this work and anticipate receiving assistance with Plan payments.

         V.      Implementation of Plan. Pursuant to 11 U.S.C.A.§ 1203, the Debtor shall
 continue its operation as a debtor-in-possession. The Debtor will fund this Plan through five (5)
 annual payments made to the Trustee on or by November 30th of each year beginning after the
 Effective Date. The disposable income will be generated from farming operations. The Debtor
 may, without further Order of this Court, incur debt in the ordinary course of business during the
 term of this Plan as necessary to implement this Plan.

         By or before the 10th day of the month following confirmation of this Plan, and continuing
 each month thereafter pursuant to the terms of this Plan, the Debtor will remit to the Trustee the
 sum of all payments due to the allowed secured claims for that month in this matter, along with
 the amount necessary to pay all pending administrative expenses (the “Secured Payment”). Upon
 funds from each Secured Payment clearing the Trustee’s bank account and being available, and
 after the Trustee pays all pending administrative expenses, he will make distributions to the
 allowed secured claims.



                                                  5


Case 18-82525-CRJ12        Doc 56     Filed 11/21/18 Entered 11/21/18 13:04:13              Desc Main
                                    Document      Page 5 of 23
         By or before the 10th day of the month following confirmation of this Plan, and continuing
 each month thereafter pursuant to the terms of this Plan, the Debtor will remit to the Trustee the
 sum of all monthly payments due to the allowed priority tax claims for that month in this matter
 and the amount necessary to pay all pending administrative expenses (the “Tax Payment”). Upon
 funds from each Tax Payment clearing the Trustee’s bank account and being available, and after
 the Trustee pays all pending administrative expenses, he will make distributions to the allowed
 priority tax claims.

        Upon receiving each annual Net Plan Profit and surplus disposable income payment, as
 described in the Plan above, and upon funds clearing the Trustee’s bank account and being
 available, and after the Trustee pays all pending administrative expenses, he will make a pro-rata
 disbursement to the allowed unsecured claims, as proscribed by this Plan.

         The Trustee will be entitled to compensation in the amount of 5.0% of all payments
 received and reimbursement of expenses in the amount of 0.5% of all payments received for a total
 amount of 5.5% of each payment received (the “Trustee Compensation and Reimbursement”). The
 Trustee will be entitled to Trustee Compensation and Reimbursement on each and every payment
 at the time it is received from the Debtor and may be paid without further order from the
 Bankruptcy Court.

           VI.    Liquidation Analysis. See Exhibit C attached hereto.

           VII.   Miscellaneous terms. The following additional Plan terms and conditions apply
 herein:

                  (a)     Modification of Rights. Pursuant to 11 U.S.C. § 1222(b)(2), the Debtor
                  elects to modify the rights of the holder of all secured claims by waiving any and
                  all pre-confirmation defaults under the Loans or Security Agreements held by the
                  secured creditors.

                  (b)    Lien Retention. All secured creditors will retain a lien on their collateral
                  except as otherwise provided herein.

                  (c)    Executory Contracts and Unexpired Leases. The Debtor hereby assumes
                  all executory contracts and unexpired leases concerning the Debtor’s farming
                  operations.

                  (d)     Effective date of the Plan. The effective date of this Plan shall be the date
                  that the United States Bankruptcy Court enters a final Order confirming this Plan.
                  Such Order will be entered after Chapter 12 Plan is filed with the Court and a
                  hearing is held confirming the Plan.

                  (e)    Vesting of Property. Upon confirmation of the Plan, all of the property of
                  the Chapter 12 estate shall vest in the Debtor.




                                                    6


Case 18-82525-CRJ12          Doc 56     Filed 11/21/18 Entered 11/21/18 13:04:13             Desc Main
                                      Document      Page 6 of 23
                 (f)    Avoidance of Liens on Exempt Property. Any and all liens which impair
                 property exempt under Bankruptcy Code § 522(b) and applicable state exemption
                 laws are hereby avoided and the claims held by the lien holders shall be considered
                 Class3 unsecured claims.

                 (g)    Prior Claims. All prior Orders entered by the United States Bankruptcy
                 Court for the Northern District of Alabama in this case are hereby incorporated by
                 reference.

                 (h)    Unsecured Claims. Allowed unsecured claims shall mean the holder of an
                 unsecured claim which was timely filed with the United States Bankruptcy Court
                 or to which the Debtor does not object.

         VIII. Claims. The actual payments to be made under this Plan will be based upon the
 allowed amount of each claim. The claim amounts reflected herein are estimates based upon
 information available to the Debtor. Pursuant to 11 U.S.C.A § 502(b), the allowed amount of each
 claim will be the amount reflected in the Proof of Claim to which no objection is filed. If an
 objection filed by each creditor to a claim is filed, the allowed amount shall be the amount
 determined by a final order of the Court.

        IX.    Compliance with Confirmation Requirements. The Debtor avers that this Plan
 complies with all applicable Chapter 12 standards for confirmation, to-wit:

                 (a)    Compliance with Laws and Good Faith. The Debtor believes that the Plan
                 complies with all provisions of Chapter 12 and any other applicable provisions of
                 the Bankruptcy Code, that the Plan has been proposed in good faith and not by any
                 means forbidden by law, and that all fees, charges or amounts required to be paid
                 before confirmation shall be paid.

                 (b)     Feasibility. Based upon the projected income and expenditures contained
                 in the Debtor’s Chapter 12 Statement, the Debtor believes that he will be able to
                 make all payments required under the Plan. The Debtor’s Annual Farm Plan for
                 five (5) years are attached hereto. See Ex. B.

                                                              /s/ James Wilson McMeans, Jr.
                                                              JAMES WILSON MCMEANS, JR.
                                                              Debtor

                                                              /s/ Stuart M. Maples
                                                              STUART M. MAPLES
                                                              (ABS-1974-S69S)
 MAPLES LAW F IRM , PC
 200 Clinton Avenue West, Suite 1000
 Huntsville, Alabama 35801
 Tel: (256) 489-9779
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 smaples@mapleslawfirmpc.com

                                                  7


Case 18-82525-CRJ12          Doc 56      Filed 11/21/18 Entered 11/21/18 13:04:13         Desc Main
                                       Document      Page 7 of 23
                                 CERTIFICATE OF SERVICE

        I do hereby certify that on November 21, 2018, a copy of the foregoing document was
 served on the following by Electronic Case Filing a copy of the same.

 Michelle T. Hatcher
 Chapter 12 Trustee

 Richard Blythe
 Bankruptcy Administrator
 richard_blythe@alnba.uscourts.gov


         I do hereby certify that on November 21, 2018, a copy of the foregoing document was
 served on the following by mailing a copy of the same United States Mail, properly addressed
 and first-class postage prepaid.
 All parties requesting notice

 All parties on the matrix attached hereto
                                                           /s/ Stuart M. Maples
                                                           STUART M. MAPLES




                                                8


Case 18-82525-CRJ12        Doc 56     Filed 11/21/18 Entered 11/21/18 13:04:13        Desc Main
                                    Document      Page 8 of 23
                                                                 EXHIBIT A

 Jimmy McMeans                                Monthly Expenses
 Mortgage                                     800.00
 Groceries                                    700.00
 Utilities                                    400.00
 Car Insurance                                300.00
 Car Payments                                 800.00
 Fuel                                         6000.00
 AT&T Cell                                    240.00
 AT&T Cable                                   250.00
 Farm Insurance                               1500.00




Case 18-82525-CRJ12   Doc 56     Filed 11/21/18 Entered 11/21/18 13:04:13   Desc Main
                               Document      Page 9 of 23
                                                              EXHIBIT B

                               Annual Farm Plan
                                       Year One
 500 acres Soybeans                                   Gross $93,750
       25 bu per acre/12,500 bushels                  Cost $46,000
       $7.50 per bushel                               Rent $23,437.50
                                                      Net $24,312.50
 100 acres Wheat                                      Gross $17,500
       50 bu per acre/5000 bushels                    Cost $7,000
       $3.50 per bushel                               Rent $4,375
                                                      Net $6,125


 Trucking    Agriculture                              Gross $130,000
                               Driver-truck-fuel      Cost $110,000
                                                      Net $20,000




Case 18-82525-CRJ12   Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13   Desc Main
                            Document    Page 10 of 23
                                                              EXHIBIT B

                               Annual Farm Plan
                                       Year Two
 500 acres Soybeans                                   Gross $93,750
       25 bu per acre/12,500 bushels                  Cost $46,000
       $7.50 per bushel                               Rent $23,437.50
                                                      Net $24,312.50
 100 acres Wheat                                      Gross $17,500
       50 bu per acre/5000 bushels                    Cost $7,000
       $3.50 per bushel                               Rent $4,375
                                                      Net $6,125


 Trucking    Agriculture                              Gross $130,000
                               Driver-truck-fuel      Cost $110,000
                                                      Net $20,000




Case 18-82525-CRJ12   Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13   Desc Main
                            Document    Page 11 of 23
                                                              EXHIBIT B

                               Annual Farm Plan
                                     Year Three
 500 acres Soybeans                                   Gross $93,750
       25 bu per acre/12,500 bushels                  Cost $46,000
       $7.50 per bushel                               Rent $23,437.50
                                                      Net $ 24,312.50
 100 acres Wheat                                      Gross $17,500
       50 bu per acre/5000 bushels                    Cost $7,000
       $3.50 per bushel                               Rent $4,375
                                                      Net $6,125


 Trucking    Agriculture                              Gross $130,000
                               Driver-truck-fuel      Cost $110,000
                                                      Net $20,000




Case 18-82525-CRJ12   Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13   Desc Main
                            Document    Page 12 of 23
                                                              EXHIBIT B

                               Annual Farm Plan
                                     Year Four
 500 acres Soybeans                                   Gross $93,750
       25 bu per acre/12,500 bushels                  Cost $46,000
       $7.50 per bushel                               Rent $23,437.50
                                                      Net $24,312.50
 100 acres Wheat                                      Gross $17,500
       50 bu per acre/5000 bushels                    Cost $7,000
       $3.50 per bushel                               Rent $4,375
                                                      Net $6,125


 Trucking    Agriculture                              Gross $130,000
                               Driver-truck-fuel      Cost $110,000
                                                      Net $20,000




Case 18-82525-CRJ12   Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13   Desc Main
                            Document    Page 13 of 23
                                                              EXHIBIT B

                               Annual Farm Plan
                                       Year Five
 500 acres Soybeans                                   Gross $93,750
       25 bu per acre/12,500 bushels                  Cost $46,000
       $7.50 per bushel                               Rent $23,437.50
                                                      Net $24,312.50
 100 acres Wheat                                      Gross $17,500
       50 bu per acre/5000 bushels                    Cost $7,000
       $3.50 per bushel                               Rent $4,375
                                                      Net $6,125


 Trucking    Agriculture                              Gross $130,000
                               Driver-truck-fuel      Cost $110,000
                                                      Net $20,000




Case 18-82525-CRJ12   Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13   Desc Main
                            Document    Page 14 of 23
                                                                                               EXHIBIT C

                    Asset                     Value              Creditor         Secured Claim Exemption
Real Property - 205 Milton Rd., Athens, AL    $66,270.00 Carrington Mortgage           $80,409.66 $15,000.00
2007 Ford F250 Super Duty                      $9,875.00        Title Cash              $4,766.22
Case MX 240 Tractor                           $25,000.00
KBH Module Builder                             $1,500.00
KBH Nitrogen Rig                                 $500.00
Case IH Disk 30 ft.                            $2,500.00
7 bottom John Deere Turning Plow                 $200.00
12 foot Am-way disk                              $400.00
One m farmall tractor                            $400.00
Timptee Hopper Trailer                         $8,000.00
1997 Kenworth Tractor Trailer                  $2,000.00
                                                                                    $12,705.76     $4,050.00
2001 Dodge Ram Truck                           $3,000.00
                                                         First Southern Financial
1966 Chevrolet S10 PU                          $6,500.00                             $6,354.38     $2,500.00
2007 Chevrolet Tahoe                          $12,000.00                            $10,539.66
2007 Freightliner Road Tractor                 $5,000.00
1997 Peterbilt Road Tractor                    $1,000.00
1984 Kenworth Road Tractor (owns 1/2)          $1,000.00
1976 Mack Road Tractor                           $500.00
1984 Wilson Flatbed Trailer                    $1,000.00
7000 Allis Chalmers Tractor                      $500.00
Off Set Disk 8 Foot                             $400.00
Batwing Bush Hog                                $500.00
Cash and Checking Account                        $600.00                             $114,775.68     $600.00

                                TOTALS:      $148,645.00                                         $22,150.00      $11,719.32




  Case 18-82525-CRJ12                Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13                           Desc Main
                                           Document    Page 15 of 23
                  IN THE UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

   IN RE:                                       )
                                                )
  JAMES WILSON MCMEANS, JR.                     ) CASE NO. 18-82525-CRJ12
  SSN: XXX-XX-4589                              ) CHAPTER 12
     Debtor.                                    )

                              CHAPTER 12 PLAN SUMMARY

   I.   ADMINISTRATIVE CREDITOR(S) PAYMENTS

        A.      Creditor: United States Bankruptcy Court for noticing fees & other charges
        Amount Owed: estimated to be under $100.00
        Interest Rate: None
        Payments: Debtor shall tender cash payment in full upon entry of Confirmation Order.
        Amount of payment: estimated to be under $100.00
        Payment made by: Trustee (X) Debtor Direct ( )

        B.      Creditor’s Name: Michelle T. Hatcher, Chapter 12 Trustee
        Amount Owed: estimated to be $66.31
        Interest Rate: 5% for Compensation; 0.5% for Expenses
        Payments: Trustee shall deduct such from payment from Plan deposits as earned.
        Payment made by: Trustee (X) Debtor Direct ( )

        C.      Creditor’s Name: Maples Law Firm, PC
        Amount Owed: estimated to be $12,000.00 at confirmation; for approval at Confirmation
        Interest Rate: None
        Payments: Debtor shall tender cash payment in full upon entry of Confirmation Order.
        Payment made by: Trustee ( ) Debtor Direct (X)

  II.   PRIORITY CREDITOR(S)

        A.      IRS: Unpaid Income Tax
        Amount owed: $2,237.95
        Lien: None
        Interest Rate: 4%
        Payment: $41.22 per month
        Payment made by: Trustee (X) Debtor Direct ( )

        B.      ADOR: Unpaid State Tax
        Amount owed: $3,117.01
        Lien: None
        Interest Rate: 4%
        Payment: $57.40 per month
        Payment made by: Trustee (X) Debtor Direct ( )
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Case 18-82525-CRJ12       Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13             Desc Main
                                Document    Page 16 of 23
 III.   SECURED CLAIMS

        A.      Class 1(a) First Southern Financial
        Amount owed: $12,705.76
        Lien: One (1) 2001 Dodge RAM PU VIN 3B6MC36721M524817; and One (1) 1997
        Kenworth Tractor Trailer
        Interest Rate: Class 1(a) shall be amortized over sixty (60) months and shall accrue interest
        at 5.25%.
        Payment: $241.23 per month
        Payment made by: Trustee (X) Debtor Direct ( )

        B.      Class 1(b) First Southern Financial
        Amount owed: $6,354.38
        Lien: One (1) 1966 Chevrolet 10 PU VIN 4C144N121010
        Interest Rate: Class 1(a)(b) shall be amortized over sixty (60) months and shall accrue
        interest at 5.25%.
        Payment: $120.64 per month
        Payment made by: Trustee (X) Debtor Direct ( )

        C.      Class 1(a)(c) First Southern Financial
        Amount owed: $10,539.66
        Lien: One (1) 2007 Chevrolet Tahoe automobile, VIN 1GNFC13J57J293417
        Interest Rate: shall be amortized over sixty (60) months and shall accrue interest at 5.0%.
        Payment: $200.11 per month
        Payment made by: Trustee (X) Debtor Direct ( )

        D.      Class 2 – Carrington Mortgage
        Amount owed: $10,539.66
        Lien: Real property located at Lot 1, Block 4, according to the survey of Oakwood
        Subdivision, as recorded in Map Book C, Page 47, in the Probate Office of Limestone
        County, Alabama
        Interest Rate: Class 1(a)(c) shall be amortized over two hundred and forty (240) months
        and shall accrue interest at 5.0%.
        Payment: $545.06 per month
        Payment made by: Trustee (X) Debtor Direct ( )

 IV.    UNSECURED CLAIMS

        Pursuant to 11 U.S.C. § 1222(b)(2), the Debtors elect to modify the rights of the holder of
        unsecured claims as follows:

        This class consists of any pre-petition unsecured claims concerning Debtor’s farming
        operation. They include claims of every kind and nature including claims arising from the
        rejection of executory contracts, unexpired lease claims, deficiencies on secured claims,
        contract damage claims or open account claims and damages arising from or related to any
        liquidated or contingent claim. It also includes any debt which is filed as a secured claim

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Case 18-82525-CRJ12        Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13                 Desc Main
                                 Document    Page 17 of 23
       but, which is allowed as an unsecured claim by the Bankruptcy. The Debtor anticipates
       that this sum will be approximately $167,790.43.

  V.   ASSUMPTION OF CONTRACTS

       Executory Contracts and Unexpired Leases. Debtor proposes to assume all executory
       contracts and unexpired leases not previously rejected.




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Case 18-82525-CRJ12     Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13           Desc Main
                              Document    Page 18 of 23
                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

   IN RE:                                         )
                                                  )
  JAMES WILSON MCMEANS, JR.                       ) CASE NO. 18-82525-CRJ12
  SSN: XXX-XX-4589                                ) CHAPTER 12
     Debtor.                                      )

                                     STATEMENT OF DEBTOR

        COMES NOW James Wilson McMeans, Jr., debtor (“Debtor”), and hereby files this
 Statement of Debtor in support of the Chapter 12 Plan and says as follows:

                            BUSINESS AND HISTORY OF DEBTOR

 A.     Overview of Debtor and Debtor’s Farming Operation.

         Debtor owns real property located at 205 Milton Road, Athens, Limestone County,
 Alabama, 35611. The Debtor operates a seasonal row cropping operation, and provides some
 agricultural transportation to other farmers in the area. The Debtor receives farm income for this
 work and anticipates receiving assistance with plan payments.

 B.     Assets.

        The Debtor has real estate owned jointly, having a value of approximately $66,270.00. The
 Debtor also leases approximately 1000 acres, used in the Debtor’s seasonal row cropping
 operation.

 C.     Debt Structure.

        1.        Administrative Claims.

         At Confirmation, the Debtor anticipates administrative expense claims allowable under the
 Plan by Maples Law Firm, P.C., in the approximate amount of $12,000.00. The Debtor also
 anticipates paying any and all fees and reimbursement expenses to the Chapter 12 Trustee.

        2.        Priority Claims.

        Debtor believes that he is indebted to the United States Internal Revenue Service in the
 approximate sum of $3,597.00, and to the Alabama Department of Revenue in the approximate
 sum of $3,117.01.

        3.        Secured Debt.

       Debtor is currently indebted to First Southern Financial in the approximate sum of
 $12,705.76 which is secured by the following: One (1) 2001 Dodge RAM PU VIN



Case 18-82525-CRJ12          Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13             Desc Main
                                   Document    Page 19 of 23
 3B6MC36721M524817; and One (1) 1997 Kenworth Tractor Trailer. The Plan places the secured
 debt of First Southern Bank in Class 1(a).

         Debtor is currently indebted to First Southern Financial in the approximate sum of
 $6,354.38 which is secured by One (1) 1966 Chevrolet 10 PU VIN 4C144N121010. The Plan
 places the secured debt of First Southern Bank in Class 1(b).

        Debtor is currently indebted to First Southern Financial in the approximate sum of
 $10,539.66 which is secured by One (1) 2007 Chevrolet Tahoe automobile, VIN
 1GNFC13J57J293417. The Plan places the secured debt of First Southern Financial in Class 1(c).

        Debtor is currently indebted to Carrington Mortgage in the approximate sum of $82,590.35
 which is secured by real property located at Lot 1, Block 4, according to the survey of Oakwood
 Subdivision, as recorded in Map Book C, Page 47, in the Probate Office of Limestone County,
 Alabama. The Plan places the secured debt of Carrington Mortgage in Class 2.

        4.     Unsecured Debt.

         Debtor currently has unsecured debt in the approximate amount of $167,790.43. The Plan
 places all unsecured claims in Class 3.

 D.     Prospective Income.

        Debtor shall continue to operate his farming operation as debtor-in-possession. The Debtor
 will fund this Plan through five (5) annual payments, consisting of all the Debtor's disposable
 income, made to the Trustee on or by November 1 of each year beginning after the Effective Date.
 The disposable income will be generated from the sale of seasonal row crops and from
 supplemental agricultural transportation income.

                                                            /s/ James Wilson McMeans, Jr.
                                                            JAMES WILSON MCMEANS, JR.
                                                            Debtor

                                                            /s/ Stuart M. Maples
                                                            STUART M. MAPLES
                                                            (ABS-1974-S69S)

 MAPLES LAW FIRM, PC
 200 Clinton Avenue West, Suite 1000
 Huntsville, Alabama 35801
 Tel: (256) 489-9779
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 smaples@mapleslawfirmpc.com




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Case 18-82525-CRJ12        Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13              Desc Main
                                 Document    Page 20 of 23
                                 CERTIFICATE OF SERVICE

        I do hereby certify that on November 21, 2018, a copy of the foregoing document was
 served on the following by Electronic Case Filing a copy of the same.

 Michelle T. Hatcher
 Chapter 12 Trustee

 Richard Blythe
 Bankruptcy Administrator
 richard_blythe@alnba.uscourts.gov

 All parties requesting notice
                                                        /s/ Stuart M. Maples
                                                        STUART M. MAPLES




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Case 18-82525-CRJ12        Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13        Desc Main
                                 Document    Page 21 of 23
Label Matrix for local noticing           Monsanto Company                        U. S. Bankruptcy Court
1126-8                                    c/o Brian W. Hockett                    400 Well Street
Case 18-82525-CRJ12                       Thompson Coburn LLP                     P. O. Box 2775
NORTHERN DISTRICT OF ALABAMA              One US Bank Plaza                       Decatur, AL 35602-2775
Decatur                                   St. Louis, MO 63101-1693
Wed Nov 21 12:48:05 CST 2018
Alabama Department of Revenue             Audrey McMeans                          Ben Taylor
PO Box 327483                             205 Milton Rd.                          17844 Catfish Bluff
Montgomery, AL 36132-7483                 Athens, AL 35611-2263                   Athens, AL 35611-9142



Capital One                               Carrington Mortgage                     Carrington Mortgage Services, LLC
Attn: Bankruptcy                          PO Box 3489                             1600 Douglass Road
Po Box 30285                              Anaheim, CA 92803-3489                  Anaheim, CA 92806-5951
Salt Lake City, UT 84130-0285


Chris Davis                               Crop Production Services, Inc.          Dora Massey
13459 McCormack Rd.                       c/o Steven C. Sasser                    27680 Azalea Trail
Athens, AL 35611-7118                     PO Box 1469                             Athens, AL 35613-5613
                                          Decatur, AL 35602-1469


Farm Service Agency                       First Southern Financial                Ford Motor Credit
13075 AL Hwy 157 Ste 3                    PO Box 1379                             PO Box 6508
Athens, AL 35612                          Athens, AL 35612-6379                   Mesa, AZ 85216-6508



Ford Motor Credit Company, LLC            Fox Collection Center                   Franklin Collection Service, Inc.
c/o MacDowell & Associates Ltd. Inc.      Attn: Bankruptcy                        Attn: Bankruptcy
P.O. Box 131029                           Po Box 528                              Po Box 3910
Mtn. Brook, AL 35213-6029                 Goodlettsvile, TN 37070-0528            Tupelo, MS 38803-3910


Internal Revenue Service                  J Freeman & M Wesson Enterprises, LLC   Jerry Gatlin
Centralized Insolvency Operations         3470 Gnat Pond Rd.                      1518 Elkton St.
PO Box 7346                               Muscle Shoals, AL 35661-4832            Athens, AL 35614-7000
Philadelphia, PA 19101-7346


Joyce White Vance                         Kent D. McPhail, Esq.                   Kurt’s Truck & Parts Company, Inc.
US Attorney General                       Kent McPhail & Associates, LLC          c/o John Raymond Frawley, Jr., Esq.
1801 4th Ave North                        126 Government St.                      PO Box 101493
Birmingham, AL 35203-2101                 Mobile, AL 36602-3109                   Birmingham, AL 35210-6493


Kurtz Truck & Parts Company, Inc.         LoanMe, Inc.                            LoanMe, Inc.
728 31st St N                             1900 S State College Blvd Suite 300     Attn: Bankruptcy
Birmingham, AL 35203-1326                 Anaheim, CA 92806-6152                  Po Box 5648
                                                                                  Orange, CA 92863


Loretta Lynch US Attorney General         Luther Strange                          Mallette Dermatology PC
US Dept. of Justice                       Alabama Attorney General                5248 Greenfield Dr.
950 Pennsylvania Ave NW                   PO Box 300152                           Athens, AL 35613
Washington, DC 20530-0009                 Montgomery, AL 36130-0152

             Case 18-82525-CRJ12       Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13               Desc Main
                                             Document    Page 22 of 23
Merchants Ad                                         Midland Funding                                      Monsanto Company
Attn: Bankruptcy                                     c/o Holloway & Moxley, LLP                           800 N. Lindbergh Blvd.
56 North Florida St                                  PO Box 4953                                          Saint Louis, MO 63167-0001
Mobile, AL 36607-3108                                Montgomery, AL 36103-4953


PNC Bank NA, Successor to RBC Bank (USA)             Pat Roberts                                          Patrick Roberts
c/o Alto Lee Teague, IV                              25156 Kingston Dr.                                   22161 Menova Trail
PO Box 11405                                         Athens, AL 35613-7382                                Athens, AL 35613
Birmingham, AL 35202-1405


Perry Baker                                          Robert Tinnon                                        SMS FINANCIAL P, LLC
14839 US Hwy 72                                      801 First Ave.                                       6829 NORTH 12TH STREET
Athens, AL 35611-8341                                Athens, AL 35611-1423                                PHOENIX, AZ 85014-1109



State of Alabama                                     THE HEART CENTER                                     Teresa F. McMeans
Department of Revenue Legal Division                 c/o Franklin Collection Service                      20829 Juniper Private Circle
PO Box 320001                                        P.O. Box 3910                                        Athens, AL 35611-4990
Montgomery, AL 36132-0001                            Tupelo, MS 38803-3910


Thomas McCrary                                       Title Cash                                           USDA Farm Service Agency
363 Nance Rd.                                        211 US Hwy 31 South                                  13075 AL Hwy 157 Ste 3
Madison, AL 35757-7921                               Athens, AL 35611-2892                                Moulton, AL 35650-6579



United States Department of Agriculture              Wade Gilbert                                         Deanna S. Smith
13075 AL Hwy 157 Ste 3                               13851 Elk River Mills Rd.                            Maples Law Firm, PC
Moulton, AL 35650-6579                               Athens, AL 35614-4635                                200 Clinton Avenue W.
                                                                                                          Suite 1000
                                                                                                          Huntsville, AL 35801-4919

James Wilson McMeans Jr.                             Michele T. Hatcher                                   Richard M Blythe
205 Milton Rd.                                       Chapter 13 Trustee                                   United States Bankruptcy Administrator
Athens, AL 35611-2263                                P.O. Box 2388                                        PO Box 3045
                                                     Decatur, AL 35602-2388                               Decatur, AL 35602-3045


Stuart M Maples
Maples Law Firm, PC
200 Clinton Avenue W.
Suite 1000
Huntsville, AL 35801-4919




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)CARRINGTON MORTGAGE SERVICES, LLC                 End of Label Matrix
                                                     Mailable recipients      51
                                                     Bypassed recipients       1
                                                     Total                    52

             Case 18-82525-CRJ12               Doc 56 Filed 11/21/18 Entered 11/21/18 13:04:13                            Desc Main
                                                     Document    Page 23 of 23
